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                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF LOUISIANA
__________________________________________
 DE’JUAN THOMAS,                           )
                                           )
                   Plaintiff,              )
      v.                                   )   3:17-cv-01595-SDD-EWD
                                           )
 SALLY GRYDER, et al.                      )
                                           )
                 Defendants.               )

                         JOINT MOTION FOR EXTENSION OF TIME

        COME NOW, all parties, by and through undersigned counsel to respectfully request an

extension of 30 days in which to notify the court whether parties wish to withdraw the jury demand.

R. Doc. 132.

        On November 13, 2020, Magistrate Judge Erin Wilder-Doomes held a telephonic hearing to

discuss the Motion to Reschedule Trial Date filed by Plaintiff. The Motion was granted and the trial

was continued from January 2, 2021, to March 22, 2021. Id. At the hearing, Defendants’ counsel

suggested that the jury trial be converted to a bench trial, in order to ensure that it can proceed as

scheduled in light of Covid-19 concerns regarding juries. In the Hearing Report and Order, parties

were ordered to confer and determine whether the jury demand will be withdrawn and submit a

notice to the court by December 18, 2020. Id. Parties have since conferred, but are waiting on

confirmation from their clients on whether they wish to proceed with a trial by jury. Parties believe

that this issue can be resolved with a 30-day extension to provide notice to the court, which would

not interrupt any scheduling deadlines.

                WHEREFORE, all parties pray that the instant motion be granted.

                                 [SIGNATURES ON NEXT PAGE]




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                                 Respectfully submitted,

                                 /s/ David Lanser __________
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